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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

TOYA GREEN-MOBLEY,

        Plaintiff,

v.                                                    Case No. 3:20-cv-80-TJC-PDB

SYNCHRONY BANK,

        Defendant.


                                     ORDER

        Upon review of the Joint Stipulation of Dismissal With Prejudice (Doc. 58),

filed on January 20, 2022, this case is dismissed with prejudice. Each party shall

bear its own attorneys’ fees and costs. The Clerk should close the file.

        DONE AND ORDERED in Jacksonville, Florida this 20th day of January,

2022.




ckm
Copies:

Counsel of record
